Case: 1:16-cv-00084-AGF Doc. #: 77 Filed: 04/05/18 Page: 1 of 2 PageID #: 1310


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

   Tara Rhodes,                                   )
                                                  )
                              Plaintiff,          )
                                                  )
                      v.                          )             No.   1:16-cv-84 AGF
                                                  )
    Mississippi County, Missouri, et al.,         )
                                                  )
                            Defendants.           )

                  STIPULATION FOR DISMISSAL WITH PREJUDICE

       COME NOW plaintiff and defendants, by and through their attorneys and stipulate and

agree that plaintiff’s Complaint and all causes of action and claims contained therein may be

dismissed with prejudice with each party to bear their own costs including attorney fees.

       It is so stipulated and agreed this 5th day of April, 2018.

/s/ Anthony E. Rothert
Anthony E. Rothert, #44827MO
Jessie Steffan, #64861MO
AMERICAN CIVIL LIBERTIES UNION OF
    MISSOURI FOUNDATION
454 Whittier Street
St. Louis, Missouri 63108
Telephone: (314) 652-3114
Facsimile: (314) 652-3112
trothert@aclu-mo.org
jsteffan@aclu-mo.org

Gillian R. Wilcox, #61278MO
AMERICAN CIVIL LIBERTIES UNION OF
   MISSOURI FOUNDATION
406 West 34th Street, Suite 420
Kansas City, Missouri 64111
Telephone: (816) 470-9938
Facsimile: (314) 652-3112
gwilcox@alcu-mo.org
ATTORNEYS FOR PLAINTIFF
Case: 1:16-cv-00084-AGF Doc. #: 77 Filed: 04/05/18 Page: 2 of 2 PageID #: 1311


SPRADLING & SPRADLING

By: /s/ Albert M. Spradling, III
Albert M. Spradling, III #23702MO
1838 Broadway, P.O. Drawer 1119
Cape Girardeau, MO 63702-1119
Telephone: (573) 335-8296
Facsimile: (573) 335-8525
spradlaw@spradlaw3.com
ATTORNEY FOR DEFENDANTS
